                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )           No. 3:06-CR-166
                                                      )           (Jarvis / Guyton)
                                                      )
 SANFORD MYERS,                                       )
                                                      )
                        Defendant.                    )
                                                      )


                                     MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the district

 court as may be appropriate. The following motions are pending and subject to disposition by this

 Court:

                (1) Motion For Early Disclosure of Jencks Material [Doc. 37];

                (2) Motion to Revise / Amend Order Entered December 29, 2006 [Doc. 38];

                (3) Motion For Hearing to Determine the Existence of Alleged
                Conspiracy [Doc. 40] with Memorandum in Support [Doc. 41];

                (4) Motion For Leave to File Memorandum in Support of Bill of Particulars [Doc.
                46]; and

                (5) Motion For Bill of Particulars [Doc. 42].

 All pending pretrial motions are addressed herein, a hearing being unnecessary to their disposition.




                                                  1


Case 3:06-cr-00166-TAV-HBG             Document 51        Filed 05/15/07    Page 1 of 13       PageID
                                              #: 2
                       1. Motion For Early Disclosure of Jencks Material

         Defendant Myers moves the Court to enter an order requiring the government to submit

 Jencks Act materials to the defendant at least ten days prior the commencement of trial. [Doc. 37].

 The Jencks Act provides in pertinent part as follows:

                        In any criminal prosecution brought by the United
                        States, no statement or report in the possession of the
                        United States which was made by a government
                        witness or prospective government witness (other
                        than the defendant) shall be the subject of subpoena,
                        discovery, or inspection until said witness has
                        testified on direct examination in the trial of the case.

                        18 U.S.C. § 3500(a); see also Fed. R. Crim. P. 26.2.

                In his motion, Mr. Myers accurately characterizes, “the purpose of the Jencks Act

 is to prevent a general exploratory ‘blind fishing expedition’ into government files by the defense.”

 [Doc. 37 at ¶5] citing United States v. Pope, 574 F.2d 320 (6th Cir. 1978); and United States v.

 Nickell, 552 F.2d 684 (6th Cir. 1977). Recognizing this, Mr. Myers distinguishes his own situation,

 describing that he “is not requesting to conduct a general exploratory search into government files.

 Rather, Mr. Myers is requesting the disclosure of specific statements of specific witnesses that

 would allow Mr. Myers to know what he is defending himself against.” [Doc. 37 at ¶ 6].

        The government responds that it intends to provide Jencks material before the trial of this

 matter, but objects to being ordered to do so. The government cites United States v. Algie, 667 F.2d

 569, 571 (6th Cir. 1982); and Palermo v. United States, 360 U.S. 343, 351 (1959) in support of its

 position.

        In Palermo, the Supreme Court addressed the parameters and legislative intent of the then-

 new Jencks Act. In language relevant to Mr. Myers’ request, the Court observed that:


                                                   2


Case 3:06-cr-00166-TAV-HBG            Document 51         Filed 05/15/07       Page 2 of 13    PageID
                                             #: 3
                Subsection (a) requires that no statement of a government witness made to
                an agent of the Government and in the Government's possession shall be
                turned over to the defense until the witness has testified on direct
                examination. This section manifests the general statutory aim to restrict the
                use of such statements to impeachment.

                Palermo, 360 U.S. at 349 (1959).

 In support of his request, Mr. Myers draws the Court’s attention to the fact that the Sixth Circuit

 favors the practice of disclosing Jencks material well before trial. This Court has reflected that

 preference in the Order on Discovery and Scheduling at paragraph O [Doc. 20]. The Court takes

 this opportunity to again strongly encourage the government to reveal Jencks Act materials to

 defense counsel as soon as possible and well before the testimony of government witnesses in order

 to avoid undue interruptions of this trial. Should the government, however, elect to withhold these

 statements until after the witness has testified, meeting the bare minimum disclosure requirement

 of the Jencks Act and Rule 26.2, it is within its right to do so.1

        As described by the Sixth Circuit, “the Jenks Act generally requires the government, on

 motion of a defendant, to produce statements in its possession of witnesses who testify at a trial.

 The defendant is only entitled to the statement after the witness has testified. ” United States v.

 Short, 671 F.2d 178, 185 (6th Cir. 1982) (emphasis added). The Court is cognizant that the

 statements sought by Mr. Myers are likely material to the optimal and thorough preparation of his

 defense and that early disclosure would result in the most orderly conduct of a trial for which both



        1
           The Sixth Circuit has made clear that, “Although a trial court may have some inherent
 power to enter specific orders compelling the disclosure of specific evidence when justice
 requires it, the court may not disregard the Jencks Act mandate. However, in most criminal
 prosecutions, the Brady rule, Rule 16 and the Jencks Act, exhaust the universe of discovery to
 which the defendant is entitled.” U.S. v. Presser, 844 F.2d 1275, 1285 n12 (6th Cir. 1988)
 (citing U.S. v. Napue, 834 F.2d 1311, 1316-17 (7th Cir. 1987); and U.S. v. Bouye, 688 F.2d
 471, 473 (7th Cir.1982).

                                                    3


Case 3:06-cr-00166-TAV-HBG            Document 51         Filed 05/15/07     Page 3 of 13       PageID
                                             #: 4
 parties are best prepared. Nonetheless, under the circumstances presented by this case, there is no

 provision in either the Jencks Act at 18 U.S.C. § 3500 or Federal Rule of Criminal Procedure 26.2

 requiring the government to produce statements by government witnesses until after the witness has

 testified at trial. Nothing in the Jencks Act provides a basis for the Court to order early disclosure

 here. United States v. Algie, 667 F.2d 569 (6th Cir. 1982). Mr. Myers is not entitled to inspect the

 statements of the government’s witnesses, including the obliquely referenced “couple” in the police

 report, unless and until they testify at trial. Accordingly, defendant Myers’ Motion For Early

 Disclosure of Jencks Act Material [Doc. 37] is DENIED.

                2. Motion to Revise / Amend Order Entered December 29, 2006

        In his Motion to Revise / Amend Order Entered December 29, 2006 [Doc. 38], Mr. Myers

 moves the Court to modify a paragraph E in this Court’s Order on Discovery and Scheduling, [Doc.

 20]. Paragraph E reads:

             The government shall reveal to the defendant and permit inspection and
             copying of all information and material known to the government which may
             be favorable to the defendant on the issues of guilt or punishment within the
             scope of Brady v. Maryland, 373 U.S. 83 (1963), United States v. Agurs, 427
             U.S. 97 (1976) (exculpatory evidence), and United States v. Bagley, 473 U.S.
             667 (1985) (impeachment evidence). Timing of such disclosure is governed
             by United States v. Presser, 844 F.2d 1275 (6th Cir. 1988).


        Mr. Myers argues that material subject to disclosure under Brady, but which is not within

 the purview of the Jenks Act, should be disclosed sooner than that which is governed by Jencks.

 Mr. Myers posits that the Court’s order erroneously applies the timing of disclosure set forth in

 Presser broadly to both forms of exculpatory materials. Mr. Myers asserts that Brady outside the

 scope of the Jencks Act should not be governed by Presser.

        Presser held that material which was arguably exempt from pretrial disclosure by Jencks Act,


                                                   4


Case 3:06-cr-00166-TAV-HBG            Document 51        Filed 05/15/07      Page 4 of 13       PageID
                                             #: 5
 yet also arguably exculpatory material under Brady doctrine, only had to be disclosed to defendants

 in time for use at trial. Presser, 844 F.2d at 1285. Presser did not extend to disclosure of Brady

 material which falls outside the Jencks Act. The reasoning behind the Jencks rule does not apply

 to other material, according to the language of Presser itself. The Presser court held that to provide

 discovery of Brady / Jencks material at an earlier time than the Jencks Act itself mandates, “would

 vitiate an important function of the Jencks Act, the protection of potential government witnesses

 from threats of harm or other intimidation before the witnesses testify at trial.” Presser, 844 F.2d

 at 1285. This legislative concern is not implicated in non-Jencks Brady material, and Presser does

 not extend to non-Jencks Brady material.

        This Court already has entered a general discovery order formally requiring the government

 to comply with the Brady rule. When this is true, the Presser court observed, “The government

 remains under its constitutional duty to provide the defense with exculpatory material in its

 possession and will have to face the consequences if it fails to comply with this duty.” Presser 844

 F.2d at 1286. It is clear from Presser that the decisions which have construed the Brady doctrine

 continue to control the timing of non-Jencks Brady material.

        The Court has correctly ordered the timing of the disclosure pursuant to United States v.

 Presser, 844 F.2d 1275 (6th Cir. 1988). Defendant himself cites Presser for the fundamental

 proposition that mater which may be described as “Brady material” but is not Jencks material must

 be disclosed sooner than material which is both Brady and Jencks. The Court agrees; thus Presser

 correctly controls the timing of disclosures subject to paragraph E of the Order on Discovery and

 Scheduling. Accordingly, the Court finds no revision is necessary and Mr. Myers’ Motion to

 Revise / Amend Order Entered December 29, 2006 [Doc. 38] is DENIED.



                                                   5


Case 3:06-cr-00166-TAV-HBG            Document 51        Filed 05/15/07      Page 5 of 13       PageID
                                             #: 6
                 3. Motion For Hearing to Determine the Existence of Alleged Conspiracy

          Mr. Myers asks the Court to conduct a hearing to determine the existence of the criminal

 conspiracy alleged by the government. [Doc. 40] and [Doc, 41]. Mr. Myers asserts that a pretrial

 hearing to determine whether or not the government may satisfy its burden of proof on the existence

 of a conspiracy is appropriate before any co-conspirator statements may be admitted in the

 government’s case-in-chief at trial.

          The government resists this request as burdensome, time-consuming and uneconomic. The

 government further objects that Mr. Myers would be unfairly afforded additional discovery of the

 government’s case beyond that otherwise provided. [Doc. 44].

          Under Federal Rules of Evidence Rule 801(d)(2)(E), “a statement is not hearsay if ...[t]he

 statement is offered against a party and is...a statement by a coconspirator of a party during the

 course and in furtherance of the conspiracy.” In order for the government to avail itself of the co-

 conspirator exception of the hearsay rule, it must show by a preponderance of the evidence that a

 conspiracy existed, that the defendant against whom the hearsay is offered was a member of the

 conspiracy and that the hearsay statement was made in the course and in the furtherance of the

 conspiracy. United States v. Vinson, 606 F.2d 144, 152 (6th Cir. 1979). This three-tiered review

 is often referred to as an “Enright finding.” See United States v. Enright, 579 F.2d 980 (6th Cir.

 1978).

          The Sixth Circuit approves of three alternative methods by which a district court can make

 a determination as to the admissibility of hearsay statements under the coconspirator exception to

 the hearsay rule: (1) conduct a pretrial mini-hearing outside the presence of the jury and listen to the

 proof of the conspiracy, (2) require the government to produce non-hearsay evidence during the



                                                    6


Case 3:06-cr-00166-TAV-HBG              Document 51       Filed 05/15/07       Page 6 of 13       PageID
                                               #: 7
 course of trial before making the necessary finding, and (3) admit the hearsay statements subject to

 a later demonstration of their admissibility. Vinson, 606 F.2d at 152-53. While all three methods

 for making an Enright finding are valid, the Sixth Circuit has criticized the first alternative as

 burdensome, time consuming and uneconomic. This Court notes that it is the custom and general

 practice in this district to use the third of these options. In any event, the request relates directly to

 trial procedures and the admissibility of evidence at trial and will be addressed by the trial judge,

 District Judge James Jarvis. As to the timing of an Enright finding, District Judge Jarvis will decide

 whether he desires to choose a method besides the third option before or during trial, as he deems

 appropriate. Accordingly, Mr. Myers’ Motion For Hearing to Determine the Existence of Alleged

 Conspiracy [Doc. 40] is DENIED.

              4. Motion For Leave to File Memorandum in Support of Bill of Particulars

         Mr. Myers asks for leave to late-file a memorandum in support intended to be filed

 contemporaneously with his Motion for Bill of Particulars; this request is GRANTED [Doc.

 46].

                                      5. Motion For Bill of Particulars

         In his Motion For Bill of Particulars [Doc. 42], Mr. Myers moves the Court to order the

 government to provide a bill of particulars more clearly identifying the nature and circumstances of

 the criminal conduct alleged in the indictment. Mr. Myers is charged in the first four counts of a

 nine-count indictment. Three other defendants are charged in the indictment. As to Mr. Myers, the

 indictment charges:

                   Count One: The Grand Jury charges that on or about February,
            2005, continuing until in or about December, 2005, in the Eastern District
            of Tennessee, the defendants, SANDFORD [sic] MYERS, M.D., JAY
            CHRISTOPHER RIDENOUR, WILLIAM LARRY CUMMINGS and


                                                  7


Case 3:06-cr-00166-TAV-HBG             Document 51         Filed 05/15/07       Page 7 of 13       PageID
                                              #: 8
         CHARLES RIDENOUR, and others known and unknown to the grand
         jury, did combine, conspire, confederate and agree to knowingly,
         intentionally and without authority violate Title 21, United States Code,
         Sections 841(a)(1) and 841(b)(1)(C); that is, to possess with intent to
         distribute and to distribute oxycodone hydrochloride, a Schedule II
         controlled substance in violation of Title 21, United States Code, Section
         846.
                 Count Two: The Grand Jury further charges that on or about May
         26, 2005, in the Eastern District of Tennessee, the defendant, SANFORD
         MYERS, M.D., did knowingly, intentionally and without authority
         distribute oxycodone hydrochloride, a Schedule II controlled substance,
         in violation of Title 21, United States Code, Section 841(a)(1) and
         (b)(1)(C).

                 Count Three: The Grand Jury further charges that on or about
         June 27, 2005, in the Eastern District of Tennessee, the defendant,
         SANFORD MYERS, M.D., did knowingly, intentionally and without
         authority distribute oxycodone hydrochloride, a Schedule II controlled
         substance, in violation of Title 21, United States Code, Section
         841(a)(1) and (b)(1)(C).

                 Count Four: The Grand Jury further charges that on or about
         September 26, 2005, in the Eastern District of Tennessee, the
         defendant, SANFORD MYERS, M.D., did knowingly, intentionally
         and without authority distribute oxycodone hydrochloride, a Schedule
         II controlled substance, in violation of Title 21, United States Code,
         Section 841(a)(1) and (b)(1)(C).

                 Indictment [Doc. 3] [emphasis in original].


                 Mr. Myers seeks particularity as to the following six aspects of the indictment:

                 1. Identify each and every unindicted co-conspirator with whom
         the government contends the defendant, Sanford Myers, “did combine,
         conspire, confederate, and agree“ to commit the alleged offense as those
         terms are used in Count One of the Indictment [Doc. No. 3], and
         particularize his or her participation in said conspiracy, including the dates
         of his or her involvement.

               2. Particularize the nature of any alleged relationship between the
        defendant, Sanford Myers, and each and every person identified in
        response to Request No. 1 above, and each named co-defendant.



                                               8


Case 3:06-cr-00166-TAV-HBG          Document 51         Filed 05/15/07       Page 8 of 13   PageID
                                           #: 9
                 3. Particularize the dates that the defendant, Sanford Myers, “did
          combine, conspire, confederate, and agree” with any person to commit the
          alleged offense as those terms are used in Count One of the Indictment.
          [Doc. No. 3]

                 4. Particularize how and in what manner the defendant, Sanford
          Myers, “did combine, conspire, confederate, and agree” with the co-
          defendants, or other persons to commit an offense against the United States
          as those terms are used in Count One of the Indictment [Doc. No. 3],
          whether by formal agreement, signed document, course of conduct or
          otherwise, including the act or acts alleged to have formed the basis of such
          conspiracy, confederation or agreement.

                  5. Particularize the precise location of each and every act described
          in response to Request No. 4 and the name of each and every person other
          than the defendant involved in each act.

                 6. Particularize the nature of the alleged relationship between the
          defendant, [Sanford Myers], and each and every person identified in
          response to Request Nos. 4 and 5 above.

        Motion For Bill of Particulars [Doc. 42].

        Mr. Myers presents that without further information about the government’s allegations, he

 is “uninformed as to the precise charges against him, unable to prepare his defense, postured for

 surprise at trial. and is unable to defend against future charges that may violate the constitutional

 guarantee against double jeopardy.” [Doc. 46-2 at pages 1-2]. Mr. Myers relies upon Federal Rules

 of Criminal Procedure, Rule 7(f) and discussion of caselaw.

        The government responds that the indictment is adequate to provide notice of the nature of

 the charges, which is all that is required. [Doc. 43 at page 2]. The government argues that Mr.

 Myers’ requests seek to discover details of the government’s case and evidence that go beyond that

 to which he is entitled.




                                                  9


Case 3:06-cr-00166-TAV-HBG           Document 51 Filed 05/15/07              Page 9 of 13      PageID
                                            #: 10
        Federal Rule of Criminal Procedure 7(f) states that

                        [t]he court may direct the government to file a bill of
                        particulars. The defendant may move for a bill of
                        particulars before or within 10 days after arraignment
                        or at a later time if the court permits. The government
                        may amend a bill of particulars subject to such
                        conditions as justice requires.

        Fed. R. Crim. P. 7(f). “A bill of particulars is meant to be used as a tool to minimize surprise

and assist defendant in obtaining the information needed to prepare a defense and to preclude a second

prosecution for the same crimes. It is not meant as a tool for the defense to obtain detailed disclosure

of all evidence held by the government before trial.” United States v. Salisbury, 983 F.2d 1369, 1375

(6th Cir. 1993) (citations omitted). The granting of a bill of particulars is within the court’s discretion.

See id. (holding that the appellate court reviews the denial of a bill of particulars for an abuse of

discretion). The level of detail in the indictment can be a basis for denying the motion for a bill of

particulars. Id. Additionally, “a defendant is not entitled to a bill of particulars with respect to

information which is available through other sources.” United States v. Paulino, 935 F.2d 739, 750

(6th Cir. 1991), superseded on other grounds by statute, United States v. Caseslorente, 220 F.3d 727

(6th Cir. 2000) (on sentencing issue).

                                              A. Co-Conspirators

        In paragraphs one and two of his request, Mr. Myers seeks information about, and the identities

of, any co-conspirators with whom he is alleged to have interacted, including his relationship to such

person. The Sixth Circuit has held that “the Government is not required to furnish the name of all

other co-conspirators in a bill of particulars.” United States v. Crayton, 357 F.3d 560, 568 (6th Cir.

2004), cert. denied, 542 U.S. 910 (2004). Furthermore, “a defendant is not entitled to a list of the

names and addresses of the government’s witnesses.” United States v. Perkins, 994 F.2d 1184, 1190



                                                    10


   Case 3:06-cr-00166-TAV-HBG                Document 51         Filed 05/15/07       Page 10 of 13
                                             PageID #: 11
(6th Cir.), cert. denied, 510 U.S. 903 (1993). Accordingly, the government is not required to produce

the names of any unindicted co-conspirators or other witnesses present when the defendants

participated in the overt acts of the conspiracy.

                          B. Dates of Defendant’s Involvement in Conspiracy

        In paragraph three, Mr. Myers seeks information regarding dates when he is alleged to have`

participated in the conspiracy. The indictment alleges that the defendant Sanford Myers, the three

named co-defendants, along with “others known and unknown to the Grand Jury,” engaged in the

subject conspiracy from February, 2005, to December, 2005. The remaining counts of the indictment

charge the defendants with offenses occurring on specific dates. The other counts pertaining to Mr.

Myers are alleged in the indictment to have occurred on May 26, 2005, June 27, 2005, and September

26, 2005.

        The Sixth Circuit has approved the provision of the dates that a defendant is alleged to have

conspired. See, e.g., United States v. Rey, 923 F.2d 1217, 1222 (6th Cir. 1991) (observing that the

defendant knew the relevant dates in holding that he was not entitled to know the names of co-

conspirators); United States v. Fears, 450 F. Supp. 249, 251 (E.D. Tenn. 1978) (directing, without

further analysis, the government to file a bill of particulars giving the date and approximate hour the

defendant allegedly made the telephone call charged in the indictment). On the other hand, the failure

to provide the precise date that a defendant joined a conspiracy when the indictment alleged it lasted

from “early 1987 to November 17, 1987,” was not error because “the indictment was not so vague that

[the defendant] could not discern the nature of the charges pending against him and the time frame in

which the alleged acts occurred, or that the indictment did not provide him with adequate information

to prepare a defense.” United States v. Hayes, No. 88-5967, 1989 WL 105938, at * 3 (6th Cir. Sept.

14, 1989), cert. denied, 493 U.S. 1030 (1990).


                                                    11


   Case 3:06-cr-00166-TAV-HBG              Document 51        Filed 05/15/07      Page 11 of 13
                                           PageID #: 12
        The indictment alleges that the conspiracy in this case existed from February 2005 to

approximately December 2005. To the extent that the defendant Sanford Myers’ involvement in the

conspiracy was a time period shorter than the entire conspiracy, the government shall be required to

provide the dates that he entered the conspiracy and when his participation in the conspiracy ended.

                             C. Nature and Location of Defendant’s Conduct

        Paragraphs four, five and six of Mr. Myers’ request address themselves to the precise nature

of the conduct alleged by the government, “whether by formal agreement, signed document, course

of conduct or otherwise;” the location of such conduct; and Mr. Myers’ relationship with persons

purportedly involved in this conduct. The Sixth Circuit rule is that “a defendant is not entitled to

discover all the overt acts that might be proven at trial.” Salisbury, 983 F.2d at 1375. The three dated

overt acts alleged in the indictment provide sufficient notice to Mr. Myers. The Court has ordered a

more precise statement of the dates of his involvement. Accordingly, the Court finds that the

defendant is not entitled to a bill of particulars regarding the precise nature of the alleged overt acts

of the conspiracy, to include their location beyond that specified in the indictment and the nature of

the relationship(s) of the participants.

                                                D. Conclusion

        The Court finds that the indictment as a whole sufficiently apprises Mr. Myers of the charges

that he is facing to permit him to prepare his defense, to avoid surprise at trial, and to protect against

a double jeopardy violation. Mr. Myers’ Motion for a Bill of Particulars [Doc. 42] is GRANTED

to the extent set forth herein at §B as to the dates of his involvement in the conspiracy and DENIED

as to the remainder of the relief sought by defendant.




                                                   12


   Case 3:06-cr-00166-TAV-HBG               Document 51         Filed 05/15/07       Page 12 of 13
                                            PageID #: 13
                              6. Conclusion

   Accordingly, it is ORDERED:

          (1) Motion For Early Disclosure of Jencks Material
          [Doc. 37] is DENIED;

          (2) Motion to Revise / Amend Order Entered
          December 29, 2006 [Doc. 38] is DENIED;

          (3) Motion For Hearing to Determine the Existence of
          Alleged Conspiracy [Doc. 40] is DENIED;

          (4) Motion For Leave to File Memorandum in Support
          of Bill of Particulars [Doc. 46] is GRANTED;

          (5) Motion For Bill of Particulars [Doc. 42] is
          GRANTED as to the dates of his involvement in the
          conspiracy and DENIED as to the remainder.

         IT IS SO ORDERED.

                                             ENTER:


                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge




                                        13


Case 3:06-cr-00166-TAV-HBG        Document 51       Filed 05/15/07    Page 13 of 13
                                  PageID #: 14
